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1    CHRISTOPHER CHIOU
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2    District of Nevada
     Nevada Bar Number 14853
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4    SUSAN CUSHMAN
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     Kimberly.Sokolich@usdoj.gov
8    Attorneys for the United States of America

9                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
10
     IN THE MATTER OF AN                          Case No. 2:21-mj-00113-DJA
11   APPLICATION FOR A SEARCH
     WARRANT FOR:                                 GOVERNMENT’S MOTION TO
12                                                UNSEAL CASE
     A UNITED STATES POSTAL
13   SERVICE (USPS) PRIORITY MAIL
     PARCEL, BEARING TRACKING
14   NUMBER 9405 5379 0290 1428 6964
     76, ADDRESSED TO ABRAHAM
     ELLIOTT, 10388 MIDSEASON MIST
15
     ST, LAS VEGAS, NV 89183
     IN RE APPLICATION OF THE                     Case No. 2:21-mj-00124-DJA
16
     UNITED STATES OF AMERICA
     FOR AN ORDER AUTHORIZING                     GOVERNMENT’S MOTION TO
17   THE INSTALLATION AND USE OF                  UNSEAL CASE
     A PEN REGISTER AND TRAP AND
18   TRACE DEVICE

19   IN THE MATTER OF THE                         Case No. 2:21-mj-00182-DJA
     CONTINUED TRACKING
20   OF:                                          GOVERNMENT’S MOTION TO
                                                  UNSEAL CASE
21   A SILVER COLORED 2017
     CHEVROLET SILVERADO
22   BEARING NEVADA LICENSE
     PLATE NUMBER VMD601
23

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1    IN THE MATTER OF THE                     Case No. 2:21-mj-00398-DJA
     CONTINUED TRACKING OF:
2                                             GOVERNMENT’S MOTION TO
     A SILVER COLORED 2017                    UNSEAL CASE
3    CHEVROLET SILVERADO
     BEARING NEVADA LICENSE
4    PLATE NUMBER VMD601
     IN THE MATTER OF THE SEARCH
5    OF                                       Case No. 2:21-mj-00512-DJA
     USPS PRIORITY MAIL ENVELOPES
     TO BE OBTAINED ON JUNE 17,               GOVERNMENT’S MOTION TO
6
     2021 MEETING CRITERIA                    UNSEAL CASE
     SPECIFIED BELOW
7
     IN THE MATTER OF THE SEARCH
8    OF                                       Case No. 2:21-mj-00513-DJA
     USPS PRIORITY MAIL ENVELOPES
9    TO BE OBTAINED ON JUNE 18,               GOVERNMENT’S MOTION TO
     2021 MEETING CRITERIA                    UNSEAL CASE
10   SPECIFIED BELOW

11   IN THE MATTER OF AN APPLICATION Case No. 2:21-mj-00515-DJA
     FOR A SEARCH WARRANT FOR:
12                                   GOVERNMENT’S MOTION TO
     THE PREMISES KNOWN AND          UNSEAL CASE
     DESCRIBED AS 304 E. SILVERADO
13
     RANCH BOULEVARD, UNIT 1110,
     LAS VEGAS, NEVADA 89183
14
     IN THE MATTER OF AN                      Case No. 2:21-mj-00516-DJA
15
     APPLICATION FOR A SEARCH
     WARRANT FOR:                             GOVERNMENT’S MOTION TO
16
                                              UNSEAL CASE
     THE PREMISES KNOWN AND
17   DESCRIBED AS 6145 HARRISON
     DRIVE, SUITE 4, LAS VEGAS,
18   NEVADA 89120
     IN THE MATTER OF AN                      Case No. 2:21-mj-00514-DJA
19   APPLICATION FOR A SEARCH
     WARRANT FOR:                             GOVERNMENT’S MOTION TO
20                                            UNSEAL CASE
     THE PREMISES KNOWN AND
21   DESCRIBED AS 487 E PETAL DEW
     AVENUE, LAS VEGAS, NEVADA
22   89183

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1    IN THE MATTER OF AN                      Case No. 2:21-mj-00517-DJA
     APPLICATION FOR A SEARCH
2    WARRANT FOR:                             GOVERNMENT’S MOTION TO
                                              UNSEAL CASE
3    THE PREMISES KNOWN AND
     DESCRIBED AS 10388 MIDSEASON
4    MIST STREET, LAS VEGAS,
     NEVADA 89183
5
     IN THE MATTER OF AN                      Case No. 2:21-mj-00518-DJA
     APPLICATION FOR A SEARCH
6
     WARRANT FOR:                             GOVERNMENT’S MOTION TO
                                              UNSEAL CASE
7
     THE PREMISES KNOWN AND
     DESCRIBED AS 305 ST.
8    AUGUSTINE LANE, HENDERSON,
     NEVADA 89014
9    IN THE MATTER OF AN                      Case No. 2:21-mj-00519-DJA
     APPLICATION FOR A SEARCH
10   WARRANT FOR:                             GOVERNMENT’S MOTION TO
                                              UNSEAL CASE
11   THE VEHICLE KNOWN AND
     DESCRIBED AS A SILVER-
12   COLORED 2017 CHEVROLET
     SILVERADO (VIN:
13   3GCUKREC0HG108984) BEARING
     NEVADA LICENSE PLATE VMD601
14   IN THE MATTER OF AN                      Case No. 2:21-mj-00520-DJA
     APPLICATION FOR A SEARCH
15   WARRANT FOR:                             GOVERNMENT’S MOTION TO
                                              UNSEAL CASE
16   THE VEHICLE KNOWN AND
     DESCRIBED AS A BLUE-COLORED
17   2007 BMW 328i (VIN:
     WBAVA33527KX79327) BEARING
18   NEVADA LICENSE PLATE 12345TH

19   IN THE MATTER OF AN                      Case No. 2:21-mj-00521-DJA
     APPLICATION FOR A SEARCH
     WARRANT FOR:                             GOVERNMENT’S MOTION TO
20
                                              UNSEAL CASE
     THE VEHICLE KNOWN AND
21   DESCRIBED AS A SILVER-
     COLORED 2019 NISSAN ROGUE
22   (VIN: 5N1AT2MT9KC797793)
     BEARING NEVADA LICENSE
23   PLATE US263P
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1    IN THE MATTER OF AN APPLICATION Case No. 2:21-mj-00522-DJA
     FOR A SEARCH WARRANT FOR:
2                                    GOVERNMENT’S MOTION TO
     THE VEHICLE KNOWN AND           UNSEAL CASE
3    DESCRIBED AS A GRAY-COLORED
     2016 CADILLAC CTS (VIN:
4    1G6AR5SS3G0195627) BEARING
     NEVADA LICENSE PLATE AL7456
5    IN THE MATTER OF AN APPLICATION Case No. 2:21-mj-00523-DJA
     FOR A SEARCH WARRANT FOR:
6                                    GOVERNMENT’S MOTION TO
     THE VEHICLE KNOWN AND           UNSEAL CASE
     DESCRIBED AS A BLACK-
7
     COLORED 2015 CHEVROLET
     SONIC (VIN: 1G1JC6SG4F4213150)
8
            The United States of America, by and through CHRISTOPHER CHIOU, Acting
9
     United States Attorney, and Christopher Burton, Susan Cushman, and Kimberly Sokolich,
10
     Assistant United States Attorneys, respectfully move this Honorable Court for an Order to
11
     UNSEAL the above-captioned cases. Specifically, the undersigned requests to unseal these
12
     items and all related documents in anticipation of producing the same as discovery in Case
13
     No. 2:21-cr-00190-APG-EJY.
14

15
     DATED this 1st day of December, 2021.
16
                                               Respectfully,
17
                                               CHRISTOPHER CHIOU
18                                             Acting United States Attorney

19                                             /s/ Kimberly Sokolich
                                               ______________________________
20                                             KIMBERLY SOKOLICH
                                               CHRISTOPHER BURTON
                                               Assistant United States Attorneys
21

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9                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
10
     IN THE MATTER OF AN                              Case No. 2:21-mj-00113-DJA
11   APPLICATION FOR A SEARCH
     WARRANT FOR:                                     ORDER TO UNSEAL CASE
12
     A UNITED STATES POSTAL
13   SERVICE (USPS) PRIORITY MAIL
     PARCEL, BEARING TRACKING
14   NUMBER 9405 5379 0290 1428 6964
     76, ADDRESSED TO ABRAHAM
15   ELLIOTT, 10388 MIDSEASON MIST
     ST, LAS VEGAS, NV 89183
16   IN RE APPLICATION OF THE                         Case No. 2:21-mj-00124-DJA
     UNITED STATES OF AMERICA
     FOR AN ORDER AUTHORIZING                         ORDER TO UNSEAL CASE
17
     THE INSTALLATION AND USE OF
     A PEN REGISTER AND TRAP AND
18   TRACE DEVICE
19   IN THE MATTER OF THE                             Case No. 2:21-mj-00182-DJA
     CONTINUED TRACKING
20   OF:                                              ORDER TO UNSEAL CASE

21   A SILVER COLORED 2017
     CHEVROLET SILVERADO
22   BEARING NEVADA LICENSE
     PLATE NUMBER VMD601
23
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1    IN THE MATTER OF THE                     Case No. 2:21-mj-00398-DJA
     CONTINUED TRACKING OF:
2                                             ORDER TO UNSEAL CASE
     A SILVER COLORED 2017
3    CHEVROLET SILVERADO
     BEARING NEVADA LICENSE
4    PLATE NUMBER VMD601
     IN THE MATTER OF THE SEARCH
5    OF                                       Case No. 2:21-mj-00512-DJA
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     TO BE OBTAINED ON JUNE 17,               ORDER TO UNSEAL CASE
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9    TO BE OBTAINED ON JUNE 18,               ORDER TO UNSEAL CASE
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     IN THE MATTER OF AN                      Case No. 2:21-mj-00516-DJA
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     WARRANT FOR:                             ORDER TO UNSEAL CASE
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18   NEVADA 89120
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     WARRANT FOR:                             ORDER TO UNSEAL CASE
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     THE PREMISES KNOWN AND
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     AVENUE, LAS VEGAS, NEVADA
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1    IN THE MATTER OF AN                      Case No. 2:21-mj-00517-DJA
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2    WARRANT FOR:                             ORDER TO UNSEAL CASE

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4    MIST STREET, LAS VEGAS,
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5
     IN THE MATTER OF AN                      Case No. 2:21-mj-00518-DJA
     APPLICATION FOR A SEARCH
6
     WARRANT FOR:                             ORDER TO UNSEAL CASE
7
     THE PREMISES KNOWN AND
     DESCRIBED AS 305 ST.
8    AUGUSTINE LANE, HENDERSON,
     NEVADA 89014
9    IN THE MATTER OF AN                      Case No. 2:21-mj-00519-DJA
     APPLICATION FOR A SEARCH
10   WARRANT FOR:                             ORDER TO UNSEAL CASE

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12   COLORED 2017 CHEVROLET
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14   IN THE MATTER OF AN                      Case No. 2:21-mj-00520-DJA
     APPLICATION FOR A SEARCH
15   WARRANT FOR:                             ORDER TO UNSEAL CASE

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17   2007 BMW 328i (VIN:
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18   NEVADA LICENSE PLATE 12345TH

19   IN THE MATTER OF AN                      Case No. 2:21-mj-00521-DJA
     APPLICATION FOR A SEARCH
     WARRANT FOR:                             ORDER TO UNSEAL CASE
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     THE VEHICLE KNOWN AND
21   DESCRIBED AS A SILVER-
     COLORED 2019 NISSAN ROGUE
22   (VIN: 5N1AT2MT9KC797793)
     BEARING NEVADA LICENSE
23   PLATE US263P
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1    IN THE MATTER OF AN APPLICATION Case No. 2:21-mj-00522-DJA
     FOR A SEARCH WARRANT FOR:
2                                    ORDER TO UNSEAL CASE
     THE VEHICLE KNOWN AND
3    DESCRIBED AS A GRAY-COLORED
     2016 CADILLAC CTS (VIN:
4    1G6AR5SS3G0195627) BEARING
     NEVADA LICENSE PLATE AL7456
5    IN THE MATTER OF AN APPLICATION Case No. 2:21-mj-00523-DJA
     FOR A SEARCH WARRANT FOR:
6                                    ORDER TO UNSEAL CASE
     THE VEHICLE KNOWN AND
     DESCRIBED AS A BLACK-
7
     COLORED 2015 CHEVROLET
     SONIC (VIN: 1G1JC6SG4F4213150)
8

9          Based on the Motion of the Government, and good cause appearing therefore, IT IS
10   HEREBY ORDERED that the instant cases shall be unsealed.

11                    3rd day of ________,
           DATED this ___        December, 2021.
                                             2021.

12
     _______________________________________
13   UNITED STATES MAGISTRATE JUDGE

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